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?iilB   ii;iY   -8        lB          United States District Court
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                                      Northern District of lllinois
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                George Moore v. 8 Figure Dream Lifestyle Case no. L:L8-cv-O2474

                     PRO SE ANSWER OF DEFENDANT Brian Kaplan and Lucky 33 LLC

         Paragraph 1. I don't have enough information to admit or deny, so
         denied.
         Paragraph 2. I don't have enough information to admit or deny, so
         denied.
         Paragraph 3. I don't have enough information to admit or deny, so
         denied.
         Paragraph 4. Admit.
         Paragraph 5. I don't have enough information to admit or deny, so
         denied.
         Paragraph 5. I don't have enough information to admit or deny, so
         denied.
         Paragraph 7. I don't have enough information to admit or deny, so
         denied.
         Paragraph 8. I don't have enough information to admit or deny, so
         denied.
         Paragraph 9. I don't have enough information to admit or deny, so
         denied.
         Paragraph 10 Admit
         Paragraph 11. Deny
         Paragraph 12. Admit
         Paragraph 13. Deny
         Paragraph 14. I don't have enough information to admit or deny, so
         denied
         Paragraph 15. I don't have enough information to admit or deny,
         so denied.
         Paragraph 16. I don't have enough information to admit or deny, so
         denied.
         Paragraph L7. I don't have enough information to admit or deny, so
         denied.
         Paragraph 18. Denied.
         Paragraph 19. Denied.
         Paragraph 20. I don't have enough information to admit or deny, so
         denied.
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Paragraph 21. I don't have enough information   to admit or deny,   so
denied.
Paragraph 22. I don't have enough information to admit or deny, so
denied.
Paragraph 23. Denied.
Paragraph 24. I don't have enough information to admit or deny, so
denied.
Paragraph 25. I don't have enough information to admit or deny, so
denied.
Paragraph 26. I don't have enough information to admit or deny, so
denied.
Paragraph 27. I don't have enough information to admit or deny, so
denied.
Paragraph 28. I don't have enough information to admit or deny, so
denied.
Paragraph 29. I don't have enough information to admit or deny, so
denied.
Paragraph 30. I don't have enough information to admit or deny, so
denied.
Paragraph 31. I don't have enough information to admit or deny, so
denied.
Paragraph 32. I don't have enough information to admit or deny, so
denied.
Paragraph 33. I don't have enough information to admit or deny, so
denied.
Paragraph 34. I don't have enough information to admit or deny, so
denied.
Paragraph 35. I don't have enough information to admit or deny, so
denied.
Paragraph 36 I don't have enough information to admit or deny, so
denied.
Paragraph 37. ! don't have enough information to admit or deny, so
denied.
Paragraph 38. Denied.
Paragraph 39. Denied.
Paragraph 40. I don't have enough information to admit or deny, so
denied.
Paragraph 41. I don't have enough information to admit or deny, so
denied.
Paragraph 42. I don't have enough information to admit or deny, so
denied.
Paragraph 43. I don't have enough information to admit or deny, so
denied.
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Paragraph 56. Denied.
Paragraph 57. Denied.
Paragraph 58. I don't have enough information to admit or deny, so
denied.
Paragraph 59 I don't have enough information to admit or deny, so
denied.
Paragraph 60. I don't have enough information to admit or deny, so
denied.
Paragraph 61. I don't have enough information to admit or deny, so
denied
Paragraph 62. I don't have enough information to admit or deny, so
denied
Paragraph 63. I don't have enough information to admit or deny, so
denied
Paragraph 64. Denied.
Paragraph 65. Denied.
Paragraph 66. Denied.
Paragraph 67. I don't have enough information to admit or deny, so
denied
Paragraph 58. Deny.
Paragraph 69 Deny.
Paragraph 70. I don't have enough information to admit or deny, so
denied.
Paragraph 71. Denied.
Paragraph 72. Deny
Paragraph 73. Denied.
Paragraph 74. I don't have enough information to admit or deny, so
denied
Paragraph 75. I don't have enough information to admit or deny, so
denied
ParagraphT6. Deny
Paragraph 77. Denied.
Paragraph 78 Admit
ParagraphT9. Denied.
Paragraph 80. Denied.
Paragraph 81. Denied
Paragraph 82. Denied.
Paragraph 83. Denied.
Paragraph 84. Denied.
Paragraph 85. Denied
Paragraph 86. Denied.
Paragraph 87 Denied
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Paragraph 44 I don't have enough information    to admit or deny,   so
denied.
Paragraph 45. I don't have enough information to admit or deny, so
denied.
Paragraph 46. Denied.
Paragraph 47. I don't have enough information to admit or deny, so
denied.
Paragraph 48. Denied.
Paragraph 49. Denied
Paragraph 50. Denied.
   o    Paragraph 51 Deny because our products are digital
       training courses Here are just a few topics:
   .    Facebook Ads Training i,e How to Double and Triple
       your business sales using Facebook ads. This is perfect
       for any type of business either brick and mortar,
       restaurant online business.
   .   How to setup an irresistible brand to attract your ideal
       client with a Branding expert who consults Fortune
        100 companies like AMEX
   o   Sales - The magic Consultative Selling and how to ask
       the right questions - to maximize your conversions with
       prospects and double and triple your sales without being
       pushy or salesy.
   o   Relationship Development - To create the relationship
       you've always wanted full of passion and love without
       couples counseling or even the need for your partner to
       participate!
   .   How to double and triple your sales with physical
       products on Amazon.
   o   How to get unlimited leads for your real estate
       business so you can sell more houses and find more
       buyers.




Paragraph 52. Denied
Paragraph 53. I don't have enough information   to admit or deny,   so
denied
Paragraph 54. Denied.
Paragraph 55. Denied.
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Paragraph 88. I don't have enough information   to admit or deny,   so
denied.
Paragraph 89. Denied.
Paragraph 90. Denied.
Paragraph 91. Denied
Paragraph 92. Denied.
Paragraph 93. Denied.
Paragraph 94. Denied.
Paragraph 95. I don't have enough information to admit or deny, so
denied
Paragraph 96. I don't have enough information to admit or deny, so
denied.
Paragraph 97 I don't have enough information to admit or deny, so
denied.
Paragraph 98. Denied.
Paragraph 99. I don't have enough information to admit or deny, so
denied.
Paragraph 100. Denied
Paragraph 101. Denied.
Paragraph 102 Denied.
Paragraph 1.03 Denied.
Paragraph 104. I don't have enough information to admit or deny, so
denied
Paragraph 105. Deny.
Paragraph 106. Deny.
Paragraph 107. Deny.
Paragraph 108. Denied.
Paragraph 109. Denied.
Paragraph 110. Deny
Paragraph 111. Denied.
Paragraph 112 Denied.
Paragraph 113. Denied.
Paragraph 114. Deny
Paragraph 115. Deny
Paragraph 116 I don't have enough information to admit or deny, so
denied.
Paragraph 117. Deny.
Paragraph 118 Denied.
Paragraph 119. Denied
Paragraph 120. Denied.
Paragraph 121 Denied.
Paragraph 122 Denied.
Paragraph 123. Denied
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 Paragraph 124. Denied
 Paragraph 125. Denied.
 Paragraph 126. Denied.



Affirmative defenses:
1. Bad faith and unclean hands    -   Plaintiff is trying to make a living by
suing
entrepreneurs whether there is any basis or not.

2. Plaintiff has no actual damages (only statutory at best) and
therefore this court should have no jurisdiction.

 3. Plaintiff is a repeat, vexatious litigator and should be barred from
        ng any further civil cases without special court permission.



                               ,"r", Lfs/         I
Signed:                       Date:




Certificate of Service

                                      Answer to all parties of record in this case on   511 g
